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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 AMERICAN CENTER FOR LAW AND
 JUSTICE,


                    Plaintiff,

        v.                                                Civil Docket No. 1:16-cv-1975 (TNM)

 U.S. DEPARTMENT OF STATE,


                    Defendant.



              PLAINTIFF’S RESPONSE TO DEFENDANT’S STATEMENT OF
              UNDISPUTED MATERIAL FACTS IN SUPPORT OF PARTIAL
                      MOTION FOR SUMMARY JUDGMENT

         Pursuant to Local Civil Rule 7(h), Plaintiff submits the following responses to

 Defendant’s statement of material facts it contends are not in genuine dispute.

       1.      Eric F. Stein is the Director of the Office of Information Programs and Services

(“IPS”) at State. Ex. A, Third Decl. of Eric F. Stein (“Stein Decl.”) ¶ 1.

       RESPONSE: Undisputed.

       2.      Eric F. Stein is the official at State who is immediately responsible for responding

to FOIA requests submitted to State. Id. ¶ 3.

       RESPONSE: Undisputed.

       3.      Eric F. Stein is familiar with all of State’s policies and practices, both formal and

informal, concerning responses to FOIA requests. Id. ¶ 5.

       RESPONSE: Undisputed.




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       4.      IPS is responsible for responding to requests made under the FOIA. Id. ¶ 2.

       RESPONSE: Undisputed.

       5.      State’s policy is to fully comply with the FOIA. Id. ¶ 7.

       RESPONSE: Disputed. With regard to all of the FOIA requests issued by Plaintiff,

Defendant has failed to comply fully with FOIA. Pl. Statement of Additional Material Facts

(hereinafter “PSAMF”) at ¶¶ 53-57. Plaintiff is currently unable to produce additional evidence

essential to dispute this assertion – i.e. evidence concerning Defendant’s actual policies and

practices (formal or informal) generally and as applied to Plaintiff – because such evidence is

solely within the possession, custody, and/or control of Defendant and Defendant failed to produce

any evidence, other than a self-serving affidavit, in support of this assertion of fact. As addressed

in Plaintiff’s memorandum in opposition and the accompanying Rule 56(d) Declaration, in light

of Defendant’s failure and to the extent these factual assertions are material to Defendant’s motion,

Plaintiff is entitled to engage in discovery to obtain any such evidence.

       6.      State’s policy is also to continue improving its FOIA operations. Id.

       RESPONSE: Plaintiff is currently unable to produce additional evidence essential to

dispute this assertion – i.e. evidence concerning Defendant’s actual policies and practices (formal

or informal) generally and as applied to Plaintiff – because such evidence is solely within the

possession, custody, and/or control of Defendant and Defendant failed to produce any evidence,

other than a self-serving affidavit, in support of this assertion of fact. As addressed in Plaintiff’s

memorandum in opposition and the accompanying Rule 56(d) Declaration, in light of Defendant’s

failure and to the extent these factual assertions are material to Defendant’s motion, Plaintiff is

entitled to engage in discovery to obtain any such evidence.

       7.      State does not have a policy or practice, either formal or informal, of refusing to




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respond to FOIA requests, or otherwise refusing to comply with the FOIA, until a requester files

a lawsuit. Id. ¶ 8.

        RESPONSE: Disputed. With regard to every FOIA request issued by Plaintiff, State has

failed or refused to respond in the manner required by FOIA unless and until Plaintiff files a

lawsuit. Pl. SAMF at ¶¶ 53-57. Plaintiff is currently unable to produce additional evidence essential

to dispute this assertion – i.e. evidence concerning Defendant’s actual policies and practices

(formal or informal) generally and as applied to Plaintiff – because such evidence is solely within

the possession, custody, and/or control of Defendant and Defendant failed to produce any

evidence, other than a self-serving affidavit, in support of this assertion of fact. As addressed in

Plaintiff’s memorandum in opposition and the accompanying Rule 56(d) Declaration, in light of

Defendant’s failure and to the extent these factual assertions are material to Defendant’s motion,

Plaintiff is entitled to engage in discovery to obtain any such evidence.

        8.      State does not have a policy or practice, either formal or informal, of intentionally

delaying its responses to FOIA requests. Id. ¶ 9.

        RESPONSE: Disputed. With regard to twelve FOIA requests issued by Plaintiff,

Defendant has delayed every single response. Pl. SAMF at ¶¶ 53-57. Plaintiff is currently unable

to produce additional evidence essential to dispute this assertion – i.e. evidence concerning

Defendant’s actual policies and practices (formal or informal) generally and as applied to Plaintiff

– because such evidence is solely within the possession, custody, and/or control of Defendant and

Defendant failed to produce any evidence, other than a self-serving affidavit, in support of this

assertion of fact. As addressed in Plaintiff’s memorandum in opposition and the accompanying

Rule 56(d) Declaration, in light of Defendant’s failure and to the extent these factual assertions are

material to Defendant’s motion, Plaintiff is entitled to engage in discovery to obtain any such




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evidence.

       9.      State does not have a policy or practice, either formal or informal, of issuing

determinations in response to FOIA requests beyond the 20-day timeframe prescribed by 5 U.S.C.

§ 552(a)(6)(C)(i). Id.

       RESPONSE: Disputed. By its own admission, State’s regular practice is to issue

determinations well beyond the 20-day timeframe. See Def. Exhibits B, at ¶¶ 25-27 (outlining

average response times – all of which far exceed the 20-day timeframe); Def. Exhibit C, at 24-26

(same). State has also failed to issue a determination on any of Plaintiff’s twelve FOIA requests

within the 20-day timeframe or even 509 days thereafter unless and until Plaintiff files suit.

PSAMF, at ¶¶ 53-57. Plaintiff is currently unable to produce additional evidence essential to

dispute this assertion – i.e. evidence concerning Defendant’s actual policies and practices (formal

or informal) generally or as applied to Plaintiff – because such evidence is solely within the

possession, custody, and/or control of Defendant and Defendant failed to produce any evidence,

other than a self-serving affidavit, in support of this assertion of fact. As addressed in Plaintiff’s

memorandum in opposition and the accompanying Rule 56(d) Declaration, in light of Defendant’s

failure and to the extent these factual assertions are material to Defendant’s motion, Plaintiff is

entitled to engage in discovery to obtain any such evidence.

       10.     State does not have a policy or practice of delaying its issuance of records pursuant

to FOIA requests. Id.

       RESPONSE: Disputed. By its own admission, State’s regular practice is to issue records

well beyond the 20-day timeframe. See Def. Exhibits B, at 25-27 (outlining average response times

– all of which far exceed the 20-day timeframe); Def. Exhibit C, at 24-26 (same). State has also

failed to issue a determination, much less issue records in a timely manner on any of Plaintiff’s




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twelve FOIA requests within the 20-day timeframe or even 509 days thereafter unless and until

Plaintiff files suit. PSAMF, at ¶¶ 53-57. In addition, State regularly denies expedited processing

to Plaintiff on FOIA requests where other agencies have granted the request pursuant to

substantially similar agency regulations. PSAMF, at ¶¶ 67. Plaintiff is currently unable to produce

additional evidence essential to dispute this assertion – i.e. evidence concerning Defendant’s actual

policies and practices (formal or informal) generally or as applied to Plaintiff – because such

evidence is solely within the possession, custody, and/or control of Defendant and Defendant failed

to produce any evidence, other than a self-serving affidavit, in support of this assertion of fact. As

addressed in Plaintiff’s memorandum in opposition and the accompanying Rule 56(d) Declaration,

in light of Defendant’s failure and to the extent these factual assertions are material to Defendant’s

motion, Plaintiff is entitled to engage in discovery to obtain any such evidence.

         11.     State does not have a policy or practice, either formal or informal, of intentionally

violating the FOIA for any reason. Id. ¶ 10.

         RESPONSE: Disputed. By its own admission, State is engaged in a regular practice of

violating FOIA. See Def. Exhibits B, at 25-27 (outlining average response times – all of which far

exceed the 20-day timeframe); Def. Exhibit C, at 24-26 (same). State has violated FOIA with

regards to every FOIA request issued by Plaintiff. Pl. SAMF ¶¶ 53-57. The facts also call into

question State’s practice in denying expedited processing. Pl. SAMF ¶ 67. The Office of Inspector

General (OIG) reported that the Defendant’s noncompliance with FOIA is due, in part, to the

Department’s “insufficient provision of personnel to IPS to handle its caseload.” EVALUATION OF

THE    DEPARTMENT OF STATE’S FOIA PROCESSES FOR REQUESTS INVOLVING THE OFFICE OF THE

SECRETARY (“2016 OIG Report”), attached hereto as Exhibit 1, at 2. 1 The OIG Report also found



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    The specific page numbers cited to herein are to the ECF assigned page number (rather than the


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that the State Department does not have “rules . . . requir[ing] staff to notify requesters when

processing is delayed, even though it is mandated by law.” Pl. Exhibit 1, at 14. Any additional

evidence essential to dispute this fact is currently unavailable to Plaintiff as it is solely within the

possession, custody and/or control of Defendant, and Defendant failed to produce any evidence,

other than a self-serving affidavit, in support of this assertion of fact. As addressed in Plaintiff’s

memorandum in opposition and the accompanying Rule 56(d) Declaration, in light of Defendant’s

failure and to the extent these factual assertions are material to Defendant’s motion, Plaintiff is

entitled to engage in discovery to obtain any such evidence.

               12.     In Fiscal Year (“FY”) 2008, State received fewer than 6,000 new FOIA and

Privacy Act requests. Id. ¶ 16.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

       13.     Each year since FY 2008, the number of new FOIA and Privacy Act requests

submitted to State has increased. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

       14.     In FY 2016, State received nearly 28,000 FOIA and Privacy Act requests. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.



original page numbers of the report).


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       15.     In FY 2014, State had a FOIA backlog of 10,045 requests. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

       16.     At the beginning of FY 2016, State had a FOIA backlog of 28,505 requests. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

       17.     At the beginning of FY 2017, State had a FOIA backlog of 13,804 requests. Id. ¶

27.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

       18.     As of May 1, 2018, State has a FOIA backlog of just over 10,400 requests, including

all incoming requests for FY 2018 to date. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

       19.     In late September 2017, State temporarily committed more resources and workforce

to address its FOIA backlog. Id. ¶ 18.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.




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          20.    The demands of State’s FOIA litigation have exacerbated State’s FOIA backlog.

Id. 16.

          RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit. This

fact is also disputed. The OIG reported in 2016 that the State Department had failed to comply

with many of OIG’s recommendations from 2012 which, in turn, attributed to further delays by

State in processing FOIA requests. Exhibit 1, at 2. For example, in 2012, the OIG noted the small

number of staff devoted to processing Department-wide FOIA requests, and in 2016, despite these

findings and a continuing increase in FOIA requests, the OIG found that “the Department has

allocated fewer employees to handle them.” Id. at 11. The OIG found that the State’s delay in

processing of FOIA requests was due, in part, to the Department’s “insufficient provision of

personnel to IPS to handle its caseload.” Id. at 2. Any additional evidence essential to dispute this

fact is currently unavailable to Plaintiff as it is solely within the possession, custody and/or control

of Defendant. As addressed in Plaintiff’s memorandum in opposition and the accompanying Rule

56(d) Declaration, in light of Defendant’s failure and to the extent these factual assertions are

material to Defendant’s motion, Plaintiff should be permitted to engage in discovery to obtain any

such evidence.

          21.    State is currently engaged in approximately 129 FOIA litigation cases. Id. ¶ 19.

          RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

          22.    Many of those 129 FOIA litigation cases involve court-ordered document




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production schedules. Id.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        23.    The FOIA requests submitted to State that are the subject of litigation comprise

approximately 1% of all active FOIA requests at State. Id.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        24.    The FOIA requests submitted to State that are the subject of litigation consume

approximately 70-80% of IPS’s FOIA review resources. Id.; Ex. D, U.S. Dep’t of State, Chief

FOIA Officer Annual Report, Mar. 2018, at 1-2.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        25.    State is currently the subject of court orders in 15 different litigations that, in total,

require it to process at least 9,500 pages of potentially responsive records per month. Stein Decl.

¶ 20.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        26.    State is committed to making productions in 22 other FOIA cases, including this

case. Id.




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        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        27.     State anticipates that it will begin monthly productions soon in another 11 current

FOIA cases. Id.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        28.     State’s FOIA caseload and backlog, and its limited resources in managing that

caseload, contributed to the length of time that Plaintiff’s FOIA requests remained pending at

State. Id. ¶ 14.

        RESPONSE: Plaintiff objects to this statement as it represents Defendant’s own

conclusory statement and/or legal conclusion, rather than a properly supported statement of fact.

This fact is also disputed. All but two of Plaintiff’s requests remain pending at State. The wait time

on at least one of Plaintiff’s FOIA requests has far exceeded the average time for responding to

most requests. See Pl. SAMF ¶¶ 56, 58, 67-68; Def. Ex. B, at 25; Def. Ex. C, at 24. Plaintiff is

currently unable to produce additional evidence essential to dispute this assertion – i.e. evidence

concerning Defendant’s actual policies and practices (formal or informal) generally and as applied

to Plaintiff – because such evidence is solely within the possession, custody, and/or control of

Defendant and Defendant failed to produce any evidence, other than a self-serving affidavit, in

support of this assertion of fact. As addressed in Plaintiff’s memorandum in opposition and the

accompanying Rule 56(d) Declaration, in light of Defendant’s failure and to the extent these

factual assertions are material to Defendant’s motion, Plaintiff is entitled to engage in discovery




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to obtain any such evidence.

        29.     State resolves thousands of pending FOIA requests each year without litigation

being filed. Id. ¶ 23; Ex. B, U.S. Dep’t of State, FOIA Annual Report Fiscal Year 2017 at Part

V.B.(1); Ex. C U.S. Dep’t of State, FOIA Annual Report Fiscal Year 2016 at Part V.B.(1).

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        30. In FY 2017, State processed 2 21,736 FOIA requests, fully granting 2,745 of these

requests and partially granting 5,302. Stein Decl. ¶ 24.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        31. The vast majority of the FOIA requests processed in FY 2017 were resolved outside

of the litigation context. Id.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        32. In FY 2016, State processed 15,386 FOIA requests, fully granting 874 of these

requests and partially granting 2,155. Id. ¶ 25.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to



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  A request is considered “processed” when the agency has taken final action in all respects in
regard to it.



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issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        33. The vast majority of the FOIA requests processed in FY 2016 were resolved outside

of the litigation context. Id.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        34. In FY 2015, State processed 13,913 requests, fully granting 1,853 of these requests

and partially granting 2,238. Id. ¶ 26.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        35.     The vast majority of the FOIA requests processed in FY 2015 were resolved outside

of the litigation context. Id.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

        36. State has not intentionally attempted to understaff its FOIA review operations or

underfund such operations. Id. ¶ 12.

        RESPONSE: Disputed. The OIG reported that FOIA backlog was due, in part, to the

Department’s “insufficient provision of personnel to IPS to handle its caseload.” Pl. Exhibit 1, at

2. Plaintiff is currently unable to produce additional evidence essential to dispute this assertion –

i.e. evidence concerning Defendant’s actual policies and practices (formal or informal) generally

and as applied to Plaintiff – because such evidence is solely within the possession, custody, and/or




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control of Defendant and Defendant failed to produce any evidence, other than a self-serving

affidavit, in support of this assertion of fact. As addressed in Plaintiff’s memorandum in opposition

and the accompanying Rule 56(d) Declaration, in light of Defendant’s failure and to the extent

these factual assertions are material to Defendant’s motion, Plaintiff is entitled to engage in

discovery to obtain any such evidence.

       37. State spent approximately $17.6 million in FY 2013 on personnel and costs associated

with processing FOIA requests. Id. ¶ 28.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

       38. State spent approximately $18.3 million in FY 2014 on personnel and costs associated

with processing FOIA requests. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

       39. State spent approximately $33.4 million in FY 2015 on personnel and costs associated

with processing FOIA requests. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

       40.     State spent approximately $19.1 million in FY 2016 on personnel and costs

associated with processing FOIA requests. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant




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to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

       41.     State spent approximately $37.3 million in FY 2017 on personnel and costs

associated with processing FOIA requests. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

       42.     State plans to provide additional financial resources to IPS to acquire new

technology to support and improve State’s FOIA program and operations. Id. ¶ 29.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing as

to Plaintiff. Plaintiff is currently unable to produce additional evidence essential to dispute this

assertion – i.e. evidence concerning Defendant’s actual policies and practices (formal or informal)

– because such evidence is solely within the possession, custody, and/or control of Defendant and

Defendant failed to produce any evidence, other than a self-serving affidavit, in support of this

assertion of fact. As addressed in Plaintiff’s memorandum in opposition and the accompanying

Rule 56(d) Declaration, in light of Defendant’s failure and to the extent these factual assertions are

material to Defendant’s motion, Plaintiff is entitled to engage in discovery to obtain any such

evidence.

       43.     IPS generally processes FOIA requests submitted to State following a “first in, first

out” approach. Ex. E, U.S. Dep’t of State, Chief FOIA Officer Annual Report, Mar. 2017, at 13.

       RESPONSE: Undisputed.

       44.     In recent years, State has improved its FOIA processes and training practices. Stein




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Decl. ¶ 31; Ex. D, U.S. Dep’t of State, Chief FOIA Officer Annual Report, Mar. 2018, at 4.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

Further, any evidence necessary to dispute this fact – i.e., evidence concerning training attendance

and other records, as well as the substance of the training being provided – is currently unavailable

to Plaintiff because it is maintained solely within the possession, custody, and/or control of

Defendant. As addressed in Plaintiff’s memorandum in opposition and the accompanying Rule

56(d) Declaration, Plaintiff is entitled to engage in discovery to obtain any such evidence.

       45.     From March 2017 to March 2018, approximately 90% of State’s FOIA

professionals attended substantive FOIA training. Stein Decl. ¶ 31.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

Further, any evidence necessary to dispute this fact – i.e., evidence concerning training attendance

and other records, as well as the substance of the training being provided – is currently unavailable

to Plaintiff because it is maintained solely within the possession, custody, and/or control of

Defendant and Defendant failed to produce any evidence, other than a self-serving affidavit, in

support of this assertion of fact. As addressed in Plaintiff’s memorandum in opposition and the

accompanying Rule 56(d) Declaration, in light of Defendant’s failure, and to the extent this fact is

material to Defendant’s motion, Plaintiff is entitled to engage in discovery to obtain any such

evidence.

       46.     Those substantive FOIA trainings were conducted by Eric F. Stein and the FOIA




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Program Manager at State. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

Further, any evidence necessary to dispute this fact – i.e., evidence concerning training attendance

and other records, as well as the substance of the training being provided – is currently unavailable

to Plaintiff because it is maintained solely within the possession, custody, and/or control of

Defendant and Defendant failed to produce any evidence, other than a self-serving affidavit, in

support of this assertion of fact. As addressed in Plaintiff’s memorandum in opposition and the

accompanying Rule 56(d) Declaration, in light of Defendant’s failure, and to the extent this fact is

material to Defendant’s motion, Plaintiff is entitled to engage in discovery to obtain any such

evidence.

       47.     FOIA staff at State also attended briefings held by the Department of Justice’s

Office of Information and Policy, as well as by the National Archives and Records

Administration’s Office of Government and Information Services. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

Further, any evidence necessary to dispute this fact is currently unavailable to Plaintiff because it

is maintained solely within the possession, custody, and/or control of Defendant and Defendant

failed to produce any evidence, other than a self-serving affidavit, in support of this assertion of

fact. As addressed in Plaintiff’s memorandum in opposition and the accompanying Rule 56(d)

Declaration, in light of Defendant’s failure, and to the extent this fact is material to Defendant’s




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motion, Plaintiff is entitled to engage in discovery to obtain any such evidence.

       48.     The topics of these trainings included a general overview of the FOIA, a review of

the recent amendments to the FOIA, overviews of the FOIA exemptions, classification/

declassification issues, reminders about annual training requirements for classified and privacy

information, records management mandates that may affect FOIA, a review of efforts to address

existing FOIA processing issues, and more. Id. ¶ 32.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

Further, any evidence necessary to dispute this fact is currently unavailable to Plaintiff because it

is maintained solely within the possession, custody, and/or control of Defendant and Defendant

failed to produce any evidence, other than a self-serving affidavit, in support of this assertion of

fact. As addressed in Plaintiff’s memorandum in opposition and the accompanying Rule 56(d)

Declaration, in light of Defendant’s failure, and to the extent this fact is material to Defendant’s

motion, Plaintiff is entitled to engage in discovery to obtain any such evidence.

       49.     Hundreds of non-FOIA professionals at State have been through at least three

different FOIA briefings. Id. ¶ 33.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

Further, any evidence necessary to dispute this fact is currently unavailable to Plaintiff because it

is maintained solely within the possession, custody, and/or control of Defendant and Defendant

failed to produce any evidence, other than a self-serving affidavit, in support of this assertion of




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fact. As addressed in Plaintiff’s memorandum in opposition and the accompanying Rule 56(d)

Declaration, in light of Defendant’s failure, and to the extent this fact is material to Defendant’s

motion, Plaintiff is entitled to engage in discovery to obtain any such evidence.

       50.     State expects to deploy a new online training module later this calendar year that

will be part of required records and FOIA training for all State employees. Id.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

Further, any evidence necessary to dispute this fact is currently unavailable to Plaintiff because it

is maintained solely within the possession, custody, and/or control of Defendant and Defendant

failed to produce any evidence, other than a self-serving affidavit, in support of this assertion of

fact. As addressed in Plaintiff’s memorandum in opposition and the accompanying Rule 56(d)

Declaration, in light of Defendant’s failure, and to the extent this fact is material to Defendant’s

motion, Plaintiff is entitled to engage in discovery to obtain any such evidence.

       51.     After receiving a FOIA request, State sends the requester an acknowledgment letter

that is intended to comply with State’s FOIA obligations. Id. ¶ 13.

       RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit.

Undisputed that State has responded to Plaintiff’s FOIA requests with a letter merely

acknowledging receipt of Plaintiff’s request. Disputed that this letter satisfies State’s FOIA

obligations. As the OIG found in 2016, State does not have “rules . . . requir[ing] staff to notify

requesters when processing is delayed, even though it is mandated by law.” Pl. Exhibit 1, at 14.




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        52.     The acknowledgement letter is also intended to provide information to requesters

that will be of assistance and value during the FOIA review process. Id.

        RESPONSE: Plaintiff objects to this fact pursuant to Fed. R. Evid. 401 as it is irrelevant

to whether Defendant maintains an unlawful pattern and/or practice of delaying and/or failing to

issue a determination and produce documents to Plaintiff unless and until Plaintiff files suit. This

fact is also disputed. As the OIG found in 2016, State does not have “rules . . . requir[ing] staff to

notify requesters when processing is delayed, even though it is mandated by law.” Pl. Exhibit 1, at

14. Plaintiff also objects to this statement as it represents Defendant’s own conclusory statement

and/or legal conclusion, rather than a properly supported statement of fact. Any additional

evidence essential to dispute this fact – i.e. Department polices, memorandums, directives, etc.,

governing FOIA practices and issuance of such letters – is currently unavailable to Plaintiff

because it is maintained solely within the possession, custody, and/or control of Defendant and

Defendant failed to produce any evidence, other than a self-serving affidavit, in support of this

assertion of fact.


               PLAINTIFF’S STATEMENT OF ADDITIONAL MATERIAL FACTS
                       PRECLUDING SUMMARY JUDGMENT


        53.     Plaintiff has issued more than twelve (12) FOIA requests to Defendant within the

last two years. Southerland Decl., ⁋ 2.

        54.     With regard to every request issued to State – regardless of the time given to

Defendant to respond – Defendant failed to notify Plaintiff of its determination or produce

responsive documents, within 20 days or anytime thereafter until Plaintiff filed suit. Amended

Complaint (Doc. 25) and Answer (Doc. 50), at ⁋⁋ 25-44. See also Complaint, American Center for




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Law and Justice v. Dep’t of State, Case No. 1:17-cv-1991 (D.D.C. September 27, 2017), ECF 1;

Southerland Decl. ⁋⁋ 2, 3, 6, 9-11.

        55.     With regard to all twelve FOIA requests issued by Plaintiff, Defendant did not

inform Plaintiff of any unusual circumstances requiring an extension of the 20-day time period or

anytime thereafter leading up to the filing of the lawsuit. Amend. Compl. and Answer, at ⁋⁋ 23,

38, 44, 69. See also Southerland Decl., ⁋⁋ 2, 14.

        56.     Regardless of whether Defendant has been given 1 month, or 1.4 years – i.e. up to

509 days (as opposed to just 20 days) – to issue a determination, Defendant has failed to do so

unless and until Plaintiff files suit. Amend. Compl. and Answer, at ⁋⁋ 25-44. See also Southerland

Decl., ⁋⁋ 2, 3, 6, 9-12.

        57.     With respect to Plaintiff’s oldest FOIA request to Defendant – pending for more

than 509 days – Defendant has refused, on two separate occasions, to provide Plaintiff with even

an estimated date on which Plaintiff can expect to receive a determination and/or the release of

documents. Southerland Decl., ⁋⁋ 12-13.

        58.     In 2015, the average FOIA response times for the State Department were as

follows: 113 days for simple requests, 511 days for complex requests and 102 days for expedited

requests. Pl. Ex. 2, at 26.

        59.     In January 2016, the Office of Inspector General (OIG) issued a report entitled

EVALUATION OF THE DEPARTMENT OF STATE’S FOIA PROCESSES FOR REQUESTS

INVOLVING THE OFFICE OF THE SECRETARY (“OIG Report”), in which OIG referenced

a prior OIG Report from 2012 identifying numerous deficiencies within the State Department in

responding to FOIA requests in a timely and lawful manner, including understaffing of employees

assigned to processing FOIA requests, inconsistent monitoring and oversight by management,




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insufficient   training of FOIA staff/employees, and inaccurate and incomplete searches. See Pl.

Exhibit 1, at 2, 11.

        60.     The OIG Report also found that the State Department lacked a “sound process to

develop its information systems,” and despite other agencies’ recommendations to have written

policies and procedures for searching for FOIA requests and has failed to develop any such

policies, procedures or criteria for conducting proper FOIA searches. Pl. Exhibit 1, at 14.

        61.     The OIG Report also found that the State Department does not have “rules . . .

requir[ing] staff to notify requesters when processing is delayed, even though it is mandated by

law.” Pl. Exhibit 1, at 14.

        62.     The OIG Report also found that the State Department has made little progress since

2012 to resolve the personnel shortage and, although the Office of Information Programs and

Services (IPS) has attempted to address the personnel issue in each of the past 3 years by

requesting additional personnel, the Department has ignored these requests and “has not provided

any additional permanent personnel.” Pl. Exhibit 1, at 12, 20, 22.

        63.     In fact, the OIG found that the State Department – despite being aware of its

understaffing as early as 2012 and annual increases in FOIA requests each year – had “allocated

fewer employees to handle them.” Pl. Exhibit 1, at 2, 11.

        64.     At the beginning of 2016, the OIG reported that the State Department’s delays in

responding to FOIA requests are due, in part, to the Department’s insufficient provision of

personnel to IPS to handle its caseload.” Pl. Exhibit 1, at 2.

        65.     In 2016, the average FOIA response times for the State Department were as

follows: 342 days for simple requests, 517 days for complex requests and 139 for expedited

requests. See Def. Exhibit C (Doc. 56-4), at 24.




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       66.     In 2017, the average FOIA response times for the State Department were as

follows: 391 days for simple requests, 652 days for complex requests and 416 days for expedited

requests. See Def. Exhibit B (Doc. 56-3) at 25.

       67.     On at least two separate occasions, State has denied Plaintiff expedited processing

on a FOIA request while several other agencies granted expedited processing as to the same request

pursuant to substantially similar agency regulations. Southerland Decl. ⁋ 4-5, 7-8.

       68.     The OIG Report indicated that State would need to include 52 additional positions

(and that until such time as all 52 positions were filled, OIG would not consider the

recommendation resolved). See Pl. Ex. 1, at 20.



Dated: May 29, 2018                                   JAY ALAN SEKULOW
                                                               (D.C. Bar No. 496335)
                                                       STUART J. ROTH (D.C. Bar No. 475937)
                                                       COLBY M. MAY (D.C. Bar No. 394340)
                                                       CRAIG L. PARSHALL*
                                                       /s/ Abigail Southerland
                                                       ABIGAIL SOUTHERLAND
                                                               (TN Bar No. 26608)
                                                       CARLY F. GAMMILL
                                                               (D.C. Bar No. 982663)
                                                       BENJAMIN P. SISNEY
                                                               (D.C. Bar No. 1044721)
                                                       201 Maryland Avenue, N.E.
                                                       Washington, DC 20002
                                                       Telephone: (202) 546-8890
                                                       Facsimile: (202) 546-9309
                                                       Email: sekulow@aclj.org

                                                       Counsel for Plaintiff




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